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766360v1/ 9681-2

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FILED IN THE
UNITED STATES DISTRICT COURT
DISTRICT OF HAWAII

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Case 1:10-cv-00483-JMS-KSC Document 56 Filed 03/21/11 Page2of4 PagelD#: 851

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAI'T

TONY KORAB, TOJIO CLANTON
and KEBEN ENOCH,
individually and on behalf of all
persons similarly situated,

Plaintiffs,
VS.

LILLIAN B. KOLLER, in her
official capacity as Director of
the State of Hawaii,
Department of Human Services,
and KENNETH FINK, in his
official capacity as State of
Hawaii, Department of Human
Services, Med-QUEST Division
Administrator,

Defendants.

 

 

CIVIL NO. 10-00483 JMS KSC

STIPULATION TO PERMIT
PLAINTIFFS TO FILE FIRST
AMENDED COMPLAINT;
EXHIBIT "A"; ORDER

STIPULATION TO PERMIT PLAINTIFFS TO FILE FIRST
AMENDED COMPLAINT

COME NOW Plaintiffs TONY KORAB, TOJIO CLANTON,

and KEBEN ENOCH, individually and on behalf of all persons

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similarly situated ("Plaintiffs"), and Defendants LILLIAN B. KOLLER,
in her official capacity as Director of the State of Hawai‘i,
Department of Human Services, and KENNETH FINK, in his official
capacity as State of Hawaii, Department of Human Services, Med-
QUEST Division Administrator (together, "Defendants"), by and
through their respective counsel, and hereby stipulate and agree
that Plaintiffs may file a First Amended Complaint ("FAC"). A copy
of the FAC is attached hereto as Exhibit "A".
DATED: Honolulu, Hawaii, March 15, 2011.
/s/ J. Blaine Rogers

PAUL ALSTON

J. BLAINE ROGERS

JOHN P. DELLERA

LOUIS ERTESCHIK
Attorneys for Plaintiffs

 

/s/ John F. Molay
HEIDI M. RIAN
JOHN F. MOLAY
LEE-ANN BREWER
Attorneys for Defendants
LINAN B. KOLLER and
KENNETH FINK

 

STIPULATION TO PERMIT PLAINTIFFS TO FILE FIRST AMENDED
COMPLAINT; Korab, et al. v. Koller, et al., CV 10-00483 HNS KSC

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Dated: Honolulu, Hawaii, March 18, 2011.

APPROVED AND SO ORDERED:

   

 

KEVIN S.C. CHANG 7
United States Magistrate Judge

STIPULATION TO PERMIT PLAINTIFFS TO FILE FIRST AMENDED
COMPLAINT; Korab, et al. v. Koller, et al., CV 10-00483 HNS KSC

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